         Case 2:15-cv-00040-SEH Document 144 Filed 10/13/17 Page 1 of 3
                                                                    FILED
                                                                     OCT 13 2017
                                                                  Clerk, l:J.S. District Court
                                                                    Drstnct Of Montana
              IN THE UNITED STATES DISTRICT COURT                           Helena


                    FOR THE DISTRICT OF MONTANA

                              BUTTE DIVISION

In re:

YELLOWSTONE MOUNTAIN                          CV 15-40-BU-SEH
CLUB, LLC, et al,
                                         Bankruptcy No. 08-61570-11
                   Debtors.
                                         Adversary No. 10-00015

BRIAN A. GLASSER, AS TRUSTEE               ORDER AND JUDGMENT
OF THE YELLOWSTONE CLUB
LIQUIDATING TRUST,

                     Plaintiff,

  vs.

DESERT RANCH LLLP, a Nevada
limited liability limited partnership;
DESERT RANCH MANAGEMENT
LLC, a Nevada limited liability
company; TIMOTHY BLIXSETH, an
individual; BEAU BLIXSETH, an
individual; THORNTON BYRON
LLP, an Idaho limited liability
partnership; GEORGE MACK, an
individual; JOHN DOES 1-100; and
XYZ CORPS. 1-100,

                     Defendants.
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      It appearing to the Court that the Plaintiff Brian A. Glasser ("Glasser"),

Successor Trustee of the Yellowstone Club Liquidation Trust, and Helen R.

Frazer, Chapter 7 Trustee for Desert Ranch LLLP, have stipulated to entry of

judgment against Defendant Desert Ranch LLLP as to Count I of the Complaint. 1

      ORDERED AND ADJUDGED

      Plaintiff Glasser, as Trustee of the Yellowstone Club Liquidating Trust, is

awarded judgment against Defendant Desert Ranch LLLP only as to Count I of the

Complaint in the principal amount of $174,414,342.00 USD. Prejudgment interest

on the claim is waived. Post-judgment interest will accrue at the rate specified in

28 U.S.C. § 1961 from and after the date of entry of judgment.

      The judgment entered is limited to judgment against Desert Ranch LLLP

only in the amount of $174,414,342.00 USD without prejudgment interest. Such

judgment shall not for any purpose be deemed to be or considered as a final

judgment subject to appellate review or from which post judgment relief may be

sought unless and until final judgment has been entered on all claims pending

against Defendants Desert Ranch Management LLC, Timothy Blixseth, Beau




      1
          Doc.2.

                                          2
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Blixseth and Thornton B~ LLP.

     DATED this   /3   day of October, 2



                                  United States District Judge




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